     Case: 4:16-cv-02132-JMB Doc. #: 1 Filed: 12/21/16 Page: 1 of 4 PageID #: 1



                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

PATRICIA HUDSON,                             )
                                             )
        Plaintiff,                           )
                                             )
v.                                           )       Case No.
                                             )
MEDICREDIT, INC.,                            )       JURY TRIAL DEMANDED
                                             )
        Defendant.                           )

                                   NOTICE OF REMOVAL

        Defendant Medicredit, Inc. (“Medicredit” or “Defendant”), pursuant to 28 U.S.C. §§

1331, 1441, and 1446, hereby removes this action which has been pending as Cause No. 16SL-

AC29231 in the Circuit Court for Saint Louis County, Missouri to the United States District

Court for the Eastern District of Missouri. In support of this Notice of Removal, Defendant

states as follows:

        1.      On November 10, 2016, Plaintiff Patricia Hudson (“Plaintiff”) commenced an

action by filing a Petition (the “Complaint”) in the Circuit Court for Saint Louis County,

Missouri, captioned Patricia Hudson v. Medicredit, Inc., Cause No. 16SL-AC29231 (the “State

Court Action”).

        2.      On November 29, 2016, Medicredit was served with a copy of the Complaint and

summons. Thirty days have not yet expired since this action became removable to this Court.

Thus, this matter is timely removed. See 28 U.S.C. § 1446(b).

        3.      Pursuant to 28 U.S.C. § 1446(a), a true and accurate copy of the complete State

Court file, available at www.courts.mo.gov/casenet, is attached hereto as Exhibit 1.




                                                 1                                     SL 2165080.1
    Case: 4:16-cv-02132-JMB Doc. #: 1 Filed: 12/21/16 Page: 2 of 4 PageID #: 2



        4.      For her only cause of action, Plaintiff alleges that Defendant violated the federal

Fair Debt Collection Practices Act, 15 U.S.C. § 1692, et. seq. (“FDCPA”). (Complaint, Ex. 1, ¶¶

1, 15-18.)

        5.      The United States District Court for the Eastern District of Missouri embraces the

county in which the State Court Action is now pending. Therefore, venue is proper for this

action pursuant to 28 U.S.C. § 1446(a).

        6.      28 U.S.C. § 1441(a) controls the circumstances in which a party may remove a

state civil action to a United States District Court, and provides that:

                any civil action brought in a State court of which the district courts
                of the United States have original jurisdiction, may be removed by
                the defendant or the defendants, to the district court of the United
                States for the district and division embracing the place where such
                action is pending.

        7.      Pursuant to 28 U.S.C. § 1331, United States District Courts maintain “original

jurisdiction of all civil actions arising under the Constitution, laws, or treaties of the United

States.”

        8.      Removal of this action is proper under 28 U.S.C. § 1331 because Plaintiff’s sole

claim—an FDCPA claim—arises under federal law. See, e.g., Young v. Am. Servicing Co., No.

4:11-cv-1199, 2011 U.S. Dist. LEXIS 124208, at *2 (E.D. Mo. Oct. 27, 2011); Quinn v. Ocwen

Fed. Bank FSB, 470 F.3d 1240, 1244 (8th Cir. 2006).

        9.      Because this Court has original jurisdiction over Plaintiff’s FDCPA claim, this

case is removable by Defendant. See 28 U.S.C. § 1441(a).

        10.     By this Notice of Removal, Defendant does not waive any defense, jurisdictional

or otherwise, which it may possess. Defendant also does not concede that Plaintiff has stated a

claim against it.



                                                  2                                      SL 2165080.1
   Case: 4:16-cv-02132-JMB Doc. #: 1 Filed: 12/21/16 Page: 3 of 4 PageID #: 3



       WHEREFORE, all of the requirements of 28 U.S.C. §§ 1331, 1441(a), and 1446 have

been satisfied, and Notice is hereby given that this action is removed from the Circuit Court of

Saint Louis County, Missouri to the United States District Court for the Eastern District of

Missouri.

                                                   Respectfully submitted,

                                                   SPENCER FANE LLP

DATED: December 21, 2016                    By:    /s/ Eric D. Block
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                                               3                                       SL 2165080.1
   Case: 4:16-cv-02132-JMB Doc. #: 1 Filed: 12/21/16 Page: 4 of 4 PageID #: 4



                                CERTIFICATE OF SERVICE

       I hereby certify that the foregoing document was filed electronically with the United
States District Court for the Eastern District of Missouri, Eastern Division, this 21st day of
December, 2016, with a true copy mailed, first class postage prepaid and sent via e-mail, to:

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       Attorney for Plaintiff

                                                  /s/ Eric D. Block




                                              4                                     SL 2165080.1
